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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF VIRGINIA

Richmond Division
BILL DESTEPH,
Plaintiff,
V. Civil No. 3:20cv951 (DJN)
MAMIE E. LOCKE, et al.,
Defendants.
ORDER

(Denying Plaintiff’s Motion)

This matter comes before the Court on Plaintiff's Motion to Allow Witness to Appear
Electronically (ECF No. 10). For the reasons stated during the on-the-record call with counsel
on December 30, 2020, the Court hereby DENIES Plaintiff's Motion (ECF No. 10).
Additionally, for the reasons stated during the call, the Court FINDS that Plaintiff's proposed
witnesses Dr. Roxann Robinson, David LaRock, Meg Graham and Carrie Coyner are precluded
from testifying during the hearing on December 31, 2020.

Let the Clerk file a copy of this Order electronically and notify all counsel of record.

It is so ORDERED.

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/s/

David J. Novak ~
United States District Judge

 

Richmond, Virginia
Dated: December 30, 2020

 
